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Attorneys for Lior Dagan as Foreign Representative of
Michael David Greenfield (a.k.a. Michael Ben-Ari)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                             Chapter 15

 MICHAEL DAVID GREENFIELD                           Case No. 21-11411 (SCC)
 a.k.a. MICHAEL BEN-ARI

          Debtor in a Foreign Proceeding.



                     NOTICE OF ADJOURNMENT OF CERTAIN
                MATTERS PREVIOUSLY SCHEDULED FOR APRIL 4, 2022

          PLEASE TAKE NOTICE that on March 9, 2022 Lior Dagan, in his capacity as the

authorized foreign representative (“Foreign Representative”) of the above-captioned debtor

(“Debtor”), filed the Foreign Representative’s Motion for Entry of an Order Authorizing the

Repatriation of Assets to Israel (ECF 21) (the “Motion”).

          PLEASE TAKE FURTHER NOTICE that the hearing to consider such Motion and any

objections related thereto previously scheduled for April 4, 2022 at 10:00 a.m. (Prevailing

Eastern Time) before the Honorable Shelley C. Chapman, United States Bankruptcy Judge,

United States Bankruptcy Court for the Southern District of New York, One Bowling Green, New

York, NY 10004 (the “Previously-Scheduled Hearing”) has been adjourned to April 25, 2022

at 11:00 a.m. (Prevailing Eastern Time) (the “Hearing”).




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        PLEASE TAKE FURTHER NOTICE that the deadline for any objections to the Motion

has been extended to April 18, 2022 at 4:00 p.m. (Prevailing Eastern Time).

        PLEASE TAKE FURTHER NOTICE that in accordance with General Order M-543,

dated March 20, 2020 (“General Order M-543”),1 the Hearing will be conducted telephonically.

Any parties wishing to participate must do so telephonically by making arrangements through

CourtSolutions LLC (www.court-solutions.com). Instructions to register for CourtSolutions LLC

are attached to General Order M-543.

        PLEASE TAKE FURTHER NOTICE THAT if no objections are timely filed and

served with respect to the Motion, the Foreign Representative may, on or after the objection

deadline set forth herein, submit to the Court an order substantially in the form of the proposed

order annexed to the Motion, which order may be entered without further notice or opportunity to

be heard.

Dated: New York, New York
       March 31, 2022
                                                                  SEIDEN LAW GROUP LLP

                                                                  /s/ Amiad Kushner
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1
 A copy of the General Order M-543 may be obtained by visiting www.nysb.uscourts.gov/news/general-order-m-
543-court-operations-under-exigent-circumstances-created-covid-19.



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